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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                             Judge Robert E. Blackburn

Civil Action No. 23-cv-00415

COLORADO OFF ROAD ENTERPRISE,
MARCUS TRUSTY, in his capacity as president of CORE as well as his individual
capacity, and
PATRICK MCKAY, in his capacity as a Board Member of CORE as well as his
individual capacity,

       Plaintiffs,

v.

USDA FOREST SERVICE, an agency of the U.S. Department of Agriculture, and
DIANA M. TRUJILLO, in her official capacity as the Forest and Grasslands Supervisor
for the Pike and San Isabel National Forests, Cimarron and Comanche National
Grasslands,

       Defendants.


     ORDER DIRECTING PREPARATION OF JOINT CASE MANAGEMENT PLAN

Blackburn, J.

       This action under the Administrative Procedure Act was filed on February 13,

2023. A Joint Case Management Plan should, if properly negotiated, provide a

mutually agreeable road map for prioritizing and addressing procedural issues as well

as an efficient briefing schedule.

       Accordingly, the parties are directed to confer and prepare a proposed Joint

Case Management Plan (JCMP). The form JCMP of this court is referenced in

D.C.COLO.LAPR 16.1. Counsel should attempt in good faith to agree on all matters

covered in the form JCMP. Any issue in dispute should be identified in the proposed

JCMP with a brief statement concerning the basis for the disagreement.
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       THEREFORE, IT IS ORDERED as follows:

       1. That on or before the deadline for defendants’ response to the complaint

under Fed. R. Civ. P. 12(a)(2), the parties shall file (using the Notice event in CM/ECF)

a proposed Joint Case Management Plan using the form referenced in

D.C.COLO.LAPR 16.1, and shall submit a copy of the proposed Joint Case

Management plan in an editable format (Microsoft Word or WordPerfect) to

Blackburn_Chambers@cod.uscourts.gov; and

       2. That the respondent shall file the administrative record via the CM/ECF

system of the court in the manner required by the Electronic Case Filing Procedures for

the District of Colorado (Civil Cases), including Electronic Case Filing Procedures (Civil

Cases), ¶ 1.1 - ¶ 1.2. The Electronic Case Filing Procedures for the District of Colorado

(Civil Cases) provide that all documents filed in civil cases “shall be filed electronically in

a portable document format (PDF) using the Electronic Case Filing System (ECF).”

Electronic Case Filing Procedures (Civil Cases), ¶ 1.1.

       Dated April 17, 2023, at Denver, Colorado.

                                                   BY THE COURT:




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